      Case: 1:18-cv-05043 Document #: 1 Filed: 07/24/18 Page 1 of 5 PageID #:1




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ANDRES CISNEROS,                                )
                                                )
      Plaintiff,                                )
                                                )
      v.                                        )       No. 1:18-cv-5043
                                                )
AUDIT SYSTEMS, INC.,                            )
                                                )
      Defendant.                                )

                                PLAINTIFF’S COMPLAINT

      Plaintiff, ANDRES CISNEROS (“Plaintiff”), through his attorney, AGRUSS LAW FIRM,

LLC, alleges the following against Defendant, AUDIT SYSTEMS, INC. (“Defendant”):

                                      INTRODUCTION

   1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. § 1692

      et seq. (“FDCPA”).

                               JURISDICTION AND VENUE

   2. This Court has jurisdiction under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k (FDCPA).

   3. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states that such

      actions may be brought and heard before “any appropriate United States district court

      without regard to the amount in controversy.”

   4. Venue and personal jurisdiction in this District are proper because Defendant does or

      transacts business within this District, and a material portion of the events at issue occurred

      in this District.

                                           PARTIES

   5. Plaintiff is a natural person residing in Chicago, Cook County, Illinois.
                                                 1
   Case: 1:18-cv-05043 Document #: 1 Filed: 07/24/18 Page 2 of 5 PageID #:2




6. Plaintiff is a consumer as that term is defined by the FDCPA.

7. Plaintiff allegedly owes a debt as that term is defined by the FDCPA.

8. Defendant is a debt collector as that term is defined by the FDCPA.

9. Within the last year, Defendant attempted to collect a consumer debt from Plaintiff.

10. Defendant is a collection agency located in Clearwater, Florida.

11. Defendant is a business entity engaged in the collection of debt within the State of Illinois.

12. The principal purpose of Defendant’s business is the collection of debts allegedly owed to

   third parties.

13. Defendant regularly collects, or attempts to collect, debts allegedly owed to third parties.

14. During the course of its attempts to collect debts allegedly owed to third parties, Defendant

   sends to alleged debtors bills, statements, and/or other correspondence, via the mail and/or

   electronic mail, and initiates contact with alleged debtors via various means of

   telecommunication, such as by telephone and facsimile.

15. Defendant acted through its agents, employees, officers, members, directors, heirs,

   successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                              FACTUAL ALLEGATIONS

16. Defendant is attempting to collect an alleged consumer debt from Plaintiff originating with

   an automotive loan.

17. The alleged debt owed arises from transactions for personal, family, and household

   purposes.

18. Within the past year of Plaintiff filing this Complaint, Defendant began calling Plaintiff

   on Plaintiff’s telephone at xxx-xxx-4148.

19. Defendant calls Plaintiff from 866-761-2179, which is one of Defendant’s telephone
                                              2
   Case: 1:18-cv-05043 Document #: 1 Filed: 07/24/18 Page 3 of 5 PageID #:3




   numbers.

20. Even if at one point in time Plaintiff owed the alleged debt, Plaintiff did not owe the debt

   when Defendant attempted to collect the debt from Plaintiff.

21. On more than one occasion since Defendant began calling Plaintiff, Plaintiff has answered

   Defendant’s collection call and has spoken with one of Defendant’s collectors.

22. On at least one occasion since Defendant began calling Plaintiff, Plaintiff disputed owing

   the alleged debt and told Defendant’s collector that the debt was discharged in Chapter 7

   bankruptcy.

23. Despite Plaintiff’s oral dispute of the alleged debt, Defendant continued to place collection

   calls to Plaintiff’s telephone.

24. On or around June 12, 2018, Plaintiff spoke with one of Defendant’s female collectors.

25. During the aforementioned conversation, Defendant’s female collector did not state that

   the call was from Audit Systems, Inc.

26. Defendant’s female collector was working within the scope of her employment when

   communicating with Plaintiff in an attempt to collect a debt.

27. Defendant’s female collector is familiar with the FDCPA.

28. Defendant’s female collector knows the FDCPA requires debt collectors to identify the

   company’s name when placing a telephone call.

DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

29. Defendant violated the FDCPA based on the following:

       a. Defendant violated § 1692b(6) of the FDCPA by placing telephone calls without

           meaningful disclosure of the caller’s identity, when Defendant’s female collector

           failed to identify her company as Audit Systems, Inc. when communicating with
                                              3
Case: 1:18-cv-05043 Document #: 1 Filed: 07/24/18 Page 4 of 5 PageID #:4




       Plaintiff in an attempt to collect the alleged debt;

   b. Defendant violated § 1692d of the FDCPA by engaging in conduct the natural

       consequences of which is to harass, oppress, and abuse Plaintiff in connection with

       the collection of an alleged debt, when Defendant attempted to collect a debt not

       owed by Plaintiff and when Defendant continued to call Plaintiff after Plaintiff

       orally disputed owing the alleged debt and even after Defendant knew the alleged

       debt was discharged in Chapter 7 bankruptcy;

   c. Defendant violated § 1692e by its false, deceptive, or misleading representations or

       means in connection with the collection of any debt, when Defendant attempted to

       collect a debt not owed by Plaintiff, when Defendant continued to call Plaintiff after

       Defendant knew the alleged debt was discharged in Chapter 7 bankruptcy and when

       Defendant created the false impression on Plaintiff that Defendant was permitted

       to call Plaintiff with impunity despite Plaintiff not owing the alleged debt;

   d. Defendant violated § 1692g(a)(3) of the FDCPA by ignoring Plaintiff’s oral

       dispute of the validity of the alleged debt and continuing to assume the validity of

       the alleged debt, when Defendant continued to call and harass Plaintiff in an

       attempt to collect the alleged debt;

   e. Defendant violated § 1692g(b) of the FDCPA by engaging in collection activities

       and communication during the time period prescribed in § 1692g(a) and (b) that

       overshadowed or was inconsistent with the disclosure of the consumer’s right to

       dispute the debt, when Defendant continued to place collection calls to Plaintiff

       after Plaintiff orally disputed owing the alleged debt; and

   f. Defendant violated § 1692f of the FDCPA by its use of unfair or unconscionable
                                          4
      Case: 1:18-cv-05043 Document #: 1 Filed: 07/24/18 Page 5 of 5 PageID #:5




              means to collect or attempt to collect any debt, when Defendant engaged in all of

              the foregoing misconduct.

      WHEREFORE, Plaintiff, ANDRES CISNEROS, respectfully requests judgment be

entered against Defendant, AUDIT SYSTEMS, INC., for the following:

   30. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. § 1692k;

   31. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

      15 U.S.C. § 1692k; and

   32. Any other relief that this Honorable Court deems appropriate.


DATED: July 24, 2018                RESPECTFULLY SUBMITTED,

                                    By:_/s/ Michael S. Agruss________________
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